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               IS EG HALAL GLOBAL
                     IS EG Halal Global: 125 River Road, Suite 301 - Edgewater NJ 07020
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                               IS EG HALAL AUDIT FORM

Establishment Information
Establishment Name:                                            Product types:(Check If applicable)
Establishment Number:                                               Beef Offal (Liver-Kidney-Heart)
Country:
                                                                    Beef Meat
Audit Date:
                                                                    Beef Fat
Audit Time:
                                                                    Veal
                                                                    Lamb/Mutton
                                                                    Casings
                                                                     Poultry
                                                                    Others
                                                               Please Indicate:



                                          Documents and Data
 General Information:
 1-When was the establishment created?              Date:

 2-What are the latest developments,                a)
 improvements, and modifications of the
 establishment?                                     b)

                                                    c)
 3- Is there any change that affects the               Yes                       No
    Halal Policy?                                   Description:
     a) Establishment Management                    a) Yes                       No
                                                    Description:

    b) Halal Assurance System (SOPs,                b) Yes                       No
       documents, personnel, etc.)                  Description:

    c) Establishment Location                       c) Yes                        No
                                                    Description:

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4-Has the establishment been previously       Yes                              No
audited by any Arab, Muslim, or foreign
country?
5-If yes, list them.                          Countries:

6-Has the establishment exported to any of    Yes                              No
these countries?
7-If yes, list them.                          Countries:

8-What are the current exporting countries    Countries:
you affiliate with?
9-Has Egypt previously audited the            Yes                              No
establishment?
10-If yes, provide the date.                  Date:
11-Has the establishment previously          Yes                               No
exported to Egypt?
12-If yes, provide the date.                 Date:
13-What are the present export               External Market            %.
percentages to external and internal
markets?                                     Internal Market            %.
                                Slaughtering and Processing
14- What are the establishment’s              Types of Slaughtered Species:
slaughtered animal species?
15- What are the ritual slaughters at the           Halal
slaughterhouse?
                                                  Others
                                               Name:
16- When was the last time of ritual          Date of last ritual slaughter:
slaughter?
17- Is there any method of Stunning (Loss     Yes                              No
of Consciousness/Dizziness/Fainting) of
animals?
18- If yes, provide details.                  Details:

19- How many cameras are at the stunning      Total number of cameras:
                                              Attach clear photos
and slaughtering areas?
20- Does the facility employ mechanical       Yes                              No
slaughtering methods in its operations for
poultry?

                                               2
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21- Will the Halal slaughtering procedure            Mechanical methods
be carried out using mechanical methods              Manually
and/or manually by hand?
22- If mechanical slaughtering is utilized,     Clarify:
what specific procedures are in place to
ensure it aligns with Halal requirements?
                                 Certification and Compliance
23-Has the establishment been previously        Yes                    No
Halal certified?                                -If yes, attach herewith the Halal Certification
24- Is the establishment ready to use           Yes                    No
exclusive chillers and freezer rooms for
Halal production?
25- If no, explain how Halal and Non-Halal      Clarify:
products will be separated.
26- How has the establishment resolved          Clarify:
the challenges of Halal production?
27- What are the corrective actions taken       a)
regarding the latest Halal non-
conformities?                                   b)

28- Which Halal standard is desired to be      GSO 2055-1/2015, ES 4249/2014
certified with?                                JAKIM
                                               GSO 993/2015, ES7729/2014
                                               OIC-SMIIC 1
                                               Other:
                          Attachments to be submitted with form
29- Please check applicable criteria and attach herewith the following:
   1)    Halal Complaint Sheet
   2)    Halal Customer Satisfaction Survey
   3)    Newest Feedback of Halal Concerned Entities
   4)    Qualification of Halal Responsible Manager
   5)    Halal training certificate(s) of slaughtermen and staff
   6)    Halal Policy Statement
   7)    Last Internal Audit Report
   8)    Halal Risk Report


Authorized Representative Signature
        Name                                                       Position

   Signature                                                        Date

        Stamp


                                                              3
